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                                                   Objection Deadline: March 15, 2024


BURNS BAIR LLP
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Special Insurance Counsel to the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                        Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                                 Case No. 20-12345 (MG)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


       THIRTY-NINTH MONTHLY FEE STATEMENT OF BURNS BAIR LLP,
     AS SPECIAL INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS FOR PROFESSIONAL SERVICES RENDERED
          AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
                JANUARY 1, 2024 THROUGH JANUARY 31, 2024

 Name of Applicant:                               Burns Bair LLP

 Authorized to Provide Professional               Official Committee of Unsecured Creditors
 Services to:
 Date of Retention:                               Effective October 29, 2020 pursuant to Order
                                                  dated December 9, 2020 [Docket No. 246]
 Period for which compensation and
                                                  January 1, 2024 – January 31, 2024
 reimbursement is sought:
 Amount of Compensation sought as actual,         $63,858.50
 reasonable, and necessary:                       50% of which is $31,929.25
 Amount of Expense Reimbursement sought
                                                  $33.50
 as actual, reasonable, and necessary:
 TOTAL (80% of fees and 100% of costs)            $31,962.75

This is the thirty-ninth monthly fee statement.
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                                PRELIMINARY STATEMENT

       Burns Bair LLP (“Burns Bair”), as Special Insurance Counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre, New

York (the “Debtor”), hereby submits this thirty-ninth monthly statement (the “Monthly

Statement”) for the period from January 1, 2024 through January 31, 2024 (the “Statement

Period”) for payment of professional services rendered and reimbursement of expenses incurred

during the Statement Period pursuant to the Court’s Order Authorizing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals dated November 4, 2020 [Docket

No. 129] (the “Interim Compensation Order”). Burns Bair requests interim allowance and

payment of compensation in the amount of $31,929.25 (50% of $63,858.50) for fees on account

of reasonable and necessary professional services rendered to the Committee by Burns Bair; and

(b) reimbursement of actual and necessary costs and expenses in the amount of $33.50.

       FEES FOR SERVICES RENDERED DURING THE STATEMENT PERIOD

       1.       Set forth below is a list of the positions of the Burns Bair professionals and

paraprofessionals who provided services to the Committee during the Statement Period, their

respective billing rates, and the aggregate hours spent by each professional and paraprofessional

in providing services on behalf of the Committee during the Statement Period.

                                                                             Total
                                         Year of       Year of     Hourly                 Total
         Name                Title                                           Hours
                                       Partnership    Admission     Rate               Compensation
                                                                             Billed
Timothy Burns               Partner       2008          1991       $975.00   35.20       $34,320.00
Jesse Bair                  Partner       2020          2013       $625.00   44.90       $28,062.50
Brian Cawley               Associate      N/A           2020       $420.00     .40         $168.00
Nathan Kuenzi              Associate      N/A           2020       $420.00    2.60        $1,092.00
Brenda Horn-Edwards        Paralegal      N/A           N/A        $360.00     .60         $216.00
                                                                  TOTAL:     83.70       $63,858.50

       2.       The rates charged by Burns Bair for services rendered to the Committee are the

same rates that it charges generally for professional services rendered to its non-bankruptcy clients.



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A complete itemization of tasks performed by these professionals and paraprofessionals for the

Statement Period is annexed hereto as Exhibit A.

             EXPENSES INCURRED DURING THE STATEMENT PERIOD

       3.      Set forth below is a categorical list of expenses incurred by Burns Bair during the

Statement Period in the course of representing the Committee.

 Date          Description                                                             Amount
 1/1/2024      Fourth Quarter 2023 PACER                                                $33.50
                                                                         TOTAL:         $33.50

                            NOTICE AND OBJECTION PROCEDURES

       4.      No trustee or examiner has been appointed in these chapter 11 cases. Pursuant to

the Interim Compensation Order, Burns Bair has provided notice of this statement upon the

following parties by electronic or first class mail: (a) the Debtor c/o The Roman Catholic Diocese

of Rockville Centre, 50 N Park Ave P.O. Box 9023, Rockville Centre, NY 11571-9023 (Attn:

Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250 Vesey Street, New York, NY

10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and Andrew M. Butler, Esq.); and

(c) the Office of the United States Trustee Region 2 (the “U.S. Trustee”), 201 Varick Street, Suite

1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell, Esq.). Burns Bair submits

that no other or further notice need be provided.

       5.      Pursuant to the Interim Compensation Order, objections to this Monthly Statement,

if any, must be served upon the Application Recipients by March 15, 2024 (the “Objection

Deadline”) setting forth the nature of the objection and the amount of fees or expenses at issue.

       6.      If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay Burns Bair 50% of the fees and 100% of the expenses set forth

above. To the extent an objection to this Monthly Statement is timely made, the Debtor shall




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withhold payment of that portion of the Monthly Statement to which the objection is directed and

promptly pay the remainder of the fees and disbursements in the percentages set forth above. To

the extent such objection is not resolved; it shall be preserved and presented to the Court at the

next interim or final fee application hearing.



Dated: February 29, 2024                         BURNS BAIR LLP

                                                  /s/ Jesse J. Bair                           .




                                                 Jesse J. Bair, Esq. (admitted pro hac vice)
                                                 Timothy W. Burns, Esq. (admitted pro hac vice)
                                                 10 E. Doty St., Suite 600
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                                                 Email: tburns@burnsbair.com

                                                 Special Insurance Counsel to the Official
                                                 Committee of Unsecured Creditors of The Roman
                                                 Catholic Diocese of Rockville Centre, New York




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                             EXHIBIT A
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                                     10 E. Doty St., Suite 600
                                   Madison, Wisconsin 53703-3392
                                           608-286-2302
                                        www.BurnsBair.com



The Official Committee of Unsecured Creditors of                       Issue Date :      2/21/2024
The Roman Catholic Diocese of Rockville Centre
                                                                             Bill # :       01366


Matter: Insurance

                           PROFESSIONAL SERVICES RENDERED


Date     Timekeeper            Narrative                                         Hours    Amount
1/1/2024 Jesse Bair            Review K. Dine correspondence re case              0.10     $62.50
                               developments and potential state court counsel
                               meeting re same (.1);
1/2/2024 Jesse Bair            Review correspondence with Arrowood and the 0.10             $62.50
                               debtor re upcoming meet and confer (.1);
1/2/2024 Jesse Bair            Review LMI's subpoena to J. Hanson (.1);           0.10      $62.50
1/2/2024 Jesse Bair            Participate in state court counsel meeting for     1.20     $750.00
                               insurance purposes re potential alternative test
                               case process and overall case strategy (1.2);
1/2/2024 Jesse Bair            Review the debtor's response to the                0.20     $125.00
                               Committee's letter re alternative test case
                               process (.1); review correspondence with state
                               court counsel and K. Dine re same (.1);
1/2/2024 Jesse Bair            Participate in conference with T. Burns re         0.10      $62.50
                               insurance case developments and next-steps
                               (.1);
1/2/2024 Timothy Burns         Participate in state court counsel meeting for     1.20   $1,170.00
                               insurance purposes re potential alternative test
                               case process and overall case strategy (1.2);
1/2/2024 Timothy Burns         Review the Diocese's response to the               0.10      $97.50
                               Committee's test case process letter (.1);
1/2/2024 Jesse Bair            Review the Committee's letter to the Debtor re     0.10      $62.50
                               alternative test case process (.1);
1/3/2024 Jesse Bair            Participate in conference with T. Burns re         0.70     $437.50
                               preparations for meet and confer with the
                               Diocese and Arrowood re Arrowood district
                               court action (.1); participate in meet and confer
                               with the Diocese and Arrowood re same (.6);
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1/3/2024 Timothy Burns      Participate in conference with J. Bair re              0.30    $292.50
                            preparations for meet and confer with the
                            Diocese and Arrowood re Arrowood district
                            court action (.1); participate in conference with J.
                            Bair re outcome of Arrowood meet and confer
                            and next-steps (.2);
1/3/2024 Jesse Bair         Review and respond to state court counsel              0.40    $250.00
                            questions re test case protocol and analysis re
                            insurance issues (.4);
1/3/2024 Jesse Bair         Participate in conference with T. Burns re             0.20    $125.00
                            Arrowood meet and confer outcome and next-
                            steps (.2);
1/3/2024 Jesse Bair         Participate in call with I. Nasatir re outcome of      0.30    $187.50
                            meet and confer with Arrowood and the Diocese
                            and next-steps re same (.3);
1/3/2024 Jesse Bair         Participate in additional conference with the          0.30    $187.50
                            Debtor re Arrowood issues and outstanding
                            demand letters (.3);
1/4/2024 Timothy Burns      Review draft status letter to district court re        0.20    $195.00
                            Arrowood (.1); correspondence with J. Bair and
                            I. Nasatir re same (.1.);
1/4/2024 Jesse Bair         Review the Debtor's first modified disclosure          1.50    $937.50
                            statement for insurance purposes (1.4); brief
                            review re exhibits to same (.1);
1/4/2024 Jesse Bair         Draft order approving Burns Bair interim fee           0.40    $250.00
                            application (.2); correspondence with Chambers
                            re same (.1); draft revised version of Burns Bair
                            fee order (.1);
1/4/2024 Jesse Bair         Review the Debtor's Trust Distribution                 0.50    $312.50
                            Procedures for insurance purposes (.5);
1/4/2024 Jesse Bair         Review draft extension request to the Court re         0.10     $62.50
                            Arrowood status letter (.1);
1/4/2024 Timothy Burns      Participate in call with J. Bair re case               0.10     $97.50
                            developments, strategy, and ongoing insurance
                            projects (.1);
1/4/2024 Jesse Bair         Review draft letter to Judge Steinmann re test         0.20    $125.00
                            case issues (.1); review correspondence with
                            state court counsel re same (.1);
1/4/2024 Jesse Bair         Correspondence with Arrowood and the                   0.10     $62.50
                            Diocese re joint letter in the Arrowood district
                            court action (.1);
1/4/2024 Jesse Bair         Participate in call with T. Burns re outcome of        0.10     $62.50
                            call with J. Stang re case insurance strategy (.1);
1/4/2024 Timothy Burns      Participate in call with J. Stang re insurance         0.40    $390.00
                            case strategy (.3); conference with J. Bair re
                            outcome of same (.1);
1/4/2024 Jesse Bair         Review correspondence with K. Dine and                 0.10     $62.50
                            Interstate re adjournment of hearing re the
                            Interstate privacy breach matter (.1);
1/4/2024 Jesse Bair         Review the Debtor's first modified plan for            1.40    $875.00
                            insurance purposes (1.4);
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1/4/2024 Jesse Bair         Participate in call with T. Burns re case             0.10     $62.50
                            developments, strategy, and ongoing insurance
                            projects (.1);
1/4/2024 Jesse Bair         Review and edit draft joint letter to the Court in    0.20    $125.00
                            the Arrowood district court action (.2);
1/4/2024 Jesse Bair         Analysis re potential insurance objections to the     0.80    $500.00
                            Debtor's disclosure statement (.3); draft email
                            memorandum to PSZJ re same (.5);
1/4/2024 Timothy Burns      Review correspondence with the Debtor and             0.10     $97.50
                            Arrowood re status update letter to the district
                            court (.1);
1/4/2024 Timothy Burns      Review correspondence with state court counsel        0.10     $97.50
                            and J. Bair re test case issues (.1);
1/5/2024 Timothy Burns      Participate in portion of state court counsel         0.70    $682.50
                            meeting for insurance purposes re case
                            developments and strategy (.4); participate in
                            follow-up meeting with certain state court
                            counsel and PSZJ re same (.1); participate in
                            additional conference with PSZJ re same and
                            next-steps (.2);
1/5/2024 Jesse Bair         Participate in conference with T. Burns re the        0.10     $62.50
                            Committee's disclosure statement objection (.1);
1/5/2024 Jesse Bair         Participate in call with K. Dine re the Debtor's      0.40    $250.00
                            first modified Plan and the Committee's
                            disclosure statement objection to same (.4);
1/5/2024 Jesse Bair         Continued analysis re Arrowood Receiver               0.10     $62.50
                            issues (.1);
1/5/2024 Timothy Burns      Analyze recent New York case law re insurer's         0.30    $292.50
                            refusal to settle (.2); participate in conference
                            with J. Bair re the Committee's disclosure
                            statement objection (.1);
1/5/2024 Jesse Bair         Review and edit updated version of the                1.40    $875.00
                            Committee's disclosure statement objection
                            (1.3); correspondence with PSZJ re same (.1);
1/5/2024 Jesse Bair         Review and edit the Committee's disclosure            2.10   $1,312.50
                            statement objection for insurance purposes
                            (2.1);
1/5/2024 Jesse Bair         Participate in state court counsel meeting for        0.80    $500.00
                            insurance purposes re case developments and
                            going-forward strategy (.5); participate in follow-
                            up meeting with certain state court counsel and
                            PSZJ re same (.1); participate in additional
                            conference with PSZJ re same and next-steps
                            (.2);
1/5/2024 Jesse Bair         Review order granting extension re Arrowood           0.10     $62.50
                            joint status letter (.1);
1/6/2024 Timothy Burns      Review the Diocese's draft Arrowood receiver          0.20    $195.00
                            stipulation (.1); correspondence with J. Bair re
                            same (.1);
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1/6/2024 Jesse Bair          Review draft stipulation for the Arrowood             0.20    $125.00
                             receiver (.1); correspondence with the Debtor, I.
                             Nasatir, and T. Burns re same (.1);
1/7/2024 Jesse Bair          Review K. Dine correspondence re state court          0.10     $62.50
                             counsel call re the Committee's objection to the
                             Debtor's disclosure statement (.1);
1/7/2024 Timothy Burns       Review LMI's disclosure statement Objection           0.60    $585.00
                             (.6);
1/7/2024 Timothy Burns       Review proposed non-party discovery order in          0.10     $97.50
                             state court CVA cases (.1);
1/7/2024 Timothy Burns       Review Interstate's disclosure statement              0.80    $780.00
                             Objection (.8);
1/7/2024 Timothy Burns       Review Lexington's joinder to LMI and                 0.10     $97.50
                             Interstate's disclosure statement Objection (.1);
1/7/2024 Timothy Burns       Review the Diocese's Trust Distribution               0.70    $682.50
                             Procedures (.7);
1/7/2024 Timothy Burns       Review correspondence with the Debtor and J.          0.20    $195.00
                             Bair re draft Arrowood stipulation (.1); review
                             correspondence with PSZJ and J. Bair re same
                             (.1);
1/7/2024 Timothy Burns       Review the Committee's motion for relief from         0.30    $292.50
                             confidentiality agreement (.3);
1/8/2024 Jesse Bair          Review Lexington's and Evanston's disclosure          0.10     $62.50
                             statement objection joinders (.1);
1/8/2024 Jesse Bair          Review further revised version of the                 0.20    $125.00
                             Committee's disclosure statement objection (.2);
1/8/2024 Jesse Bair          Review LMI's disclosure statement objection           0.40    $250.00
                             (.4);
1/8/2024 Jesse Bair          Review the US Trustee's disclosure statement          0.40    $250.00
                             objection (.3); review K. Dine correspondence
                             re same (.1);
1/8/2024 Timothy Burns       Participate in conference with J. Bair re             0.10     $97.50
                             disclosure statement hearing preparations and
                             strategy (.1);
1/8/2024 Jesse Bair          Participate in conference with T. Burns re            0.10     $62.50
                             disclosure statement hearing preparations and
                             strategy (.1);
1/8/2024 Jesse Bair          Review Interstate's disclosure statement              0.30    $187.50
                             objection (.3);
1/9/2024 Jesse Bair          Analysis of insurance issues in preparation for       0.10     $62.50
                             upcoming disclosure statement hearing (.1);
1/10/2024 Jesse Bair         Review revised version of the parties' joint          0.20    $125.00
                             status letter in the Arrowood district court action
                             (.1); correspondence with the Debtor and
                             Arrowood re same (.1):
1/10/2024 Timothy Burns      Review and revise draft Arrowood stipulation          0.40    $390.00
                             (.2); conference with J. Bair re same (.1); review
                             correspondence with PSZJ and J. Bair re
                             insurer discovery (.1);
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1/10/2024 Jesse Bair         Correspondence with the Debtor re LMI status        0.10     $62.50
                             conference outcome (.1);
1/10/2024 Jesse Bair         Correspondence with K. Dine re LMI demand           0.10     $62.50
                             letter status and LMI district court action (.1);
1/10/2024 Jesse Bair         Correspondence with PSZJ re the New York            0.20    $125.00
                             Department of Financial Service's petition to
                             open an Arrowood ancillary proceeding (.1);
                             participate in conference with T. Burns re
                             Arrowood stipulation issues (.1);
1/10/2024 Jesse Bair         Review and respond to correspondence with J.        0.20    $125.00
                             Stang and I. Nasatir re insurance discovery
                             issues (.2);
1/11/2024 Timothy Burns      Review DFS's petition for appointment as            0.20    $195.00
                             ancillary receiver of Arrowood (.2);
1/11/2024 Jesse Bair         Review the Delaware Insurance Department's          0.20    $125.00
                             frequently asked questions summary re the
                             Arrowood liquidation process (.2);
1/11/2024 Timothy Burns      Review frequently asked questions re Arrowood       0.20    $195.00
                             by Delaware Insurance Department (.2);
1/11/2024 Timothy Burns      Review and respond to correspondence with           0.20    $195.00
                             PSZJ and J. Bair re meeting with Debtor re
                             case insurance issues (.2);
1/11/2024 Jesse Bair         Review the New York DFS's petition seeking          0.20    $125.00
                             entry of an ancillary proceeding over Arrowood
                             (.2);
1/11/2024 Jesse Bair         Correspondence with the Diocese re call to          0.10     $62.50
                             discuss case insurance issues (.1);
1/11/2024 Jesse Bair         Review order setting status conference in the       0.10     $62.50
                             Arrowood district court action (.1);
1/11/2024 Jesse Bair         Correspondence with I. Nasatir and K. Dine re       0.10     $62.50
                             debtor insurance call and case insurance
                             discovery issues (.1);
1/12/2024 Jesse Bair         Participate in call with the Debtor re case         0.70    $437.50
                             insurance issues (.6); consideration of insurance
                             next-steps in light of outcome of same (.1);
1/12/2024 Jesse Bair         Begin analyzing the Debtor's Trust Agreements       0.70    $437.50
                             (.7);
1/12/2024 Timothy Burns      Participate in conference with J. Bair re           0.10     $97.50
                             disclosure statement insurance issues (.1);
1/12/2024 Jesse Bair         Review the Debtor's disclosure statement reply      0.50    $312.50
                             brief (.5);
1/12/2024 Jesse Bair         Participate in conference with T. Burns re          0.10     $62.50
                             disclosure statement insurance issues (.1);
1/12/2024 Jesse Bair         Correspondence with K. Dine re the upcoming         0.10     $62.50
                             disclosure statement hearing (.1);
1/12/2024 Jesse Bair         Review correspondence from the Debtor re            0.10     $62.50
                             potential disclosure statement edits (.1);
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1/12/2024 Jesse Bair         Prepare for state court counsel meeting (.1);       0.80    $500.00
                             participate in state court counsel meeting for
                             insurance purposes re upcoming disclosure
                             statement hearing, insurance updates, and
                             overall case strategy (.7);
1/13/2024 Jesse Bair         Review correspondence with PSZJ re debtor           0.10     $62.50
                             disclosure statement reply arguments (.1);
1/13/2024 Jesse Bair         Review agenda for January 16 hearing (.1);          0.10     $62.50
1/13/2024 Jesse Bair         Correspondence with K. Dine and T. Burns re         0.10     $62.50
                             disclosure statement hearing preparations (.1);
1/14/2024 Timothy Burns      Detailed review of all objections to the Debtor's   5.10   $4,972.50
                             disclosure statement for insurance purposes
                             (2.9); detailed review of the Debtor's Trust
                             Agreements for insurance purposes (2.2);
1/15/2024 Jesse Bair         Review correspondence with PSZJ and T. Burns        0.20    $125.00
                             re disclosure statement hearing arguments (.2);
1/15/2024 Jesse Bair         Review additional correspondence with K. Dine       0.10     $62.50
                             re disclosure statement hearing preparations
                             (.1);
1/15/2024 Timothy Burns      Detailed review of Debtor's Second Amended          6.10   $5,947.50
                             Plan and disclosure statement for insurance
                             purposes (6.1);
1/16/2024 Timothy Burns      Participate in disclosure statement hearing for     4.00   $3,900.00
                             insurance purposes (3.8); participate in post-
                             hearing conference with J. Bair re outcome of
                             same and next-steps (.2);
1/16/2024 Jesse Bair         Continue analyzing the Debtor's disclosure          0.50    $312.50
                             statement reply brief and appendix A to same in
                             preparation for disclosure statement hearing
                             (.5);
1/16/2024 Jesse Bair         Review Debtor's demonstrative re Plan v.            0.10     $62.50
                             dismissal choice (.1);
1/16/2024 Jesse Bair         Participate in conference with T. Burns re          0.50    $312.50
                             disclosure statement insurance issues (.2);
                             continue preparing for potential insurance
                             aspects of disclosure statement hearing (.3);
1/16/2024 Nathan Kuenzi      Supplemental analysis of New York law re            1.30    $546.00
                             Arrowood ancillary proceeding issues in
                             connection with disclosure statement and plan
                             issues (.9); draft email memo summarizing
                             same (.4);
1/16/2024 Jesse Bair         Participate in disclosure statement hearing for     4.00   $2,500.00
                             insurance purposes (3.8); participate in post-
                             hearing conference with T. Burns re outcome of
                             same and next-steps (.2);
1/16/2024 Jesse Bair         Continue reviewing the Debtor's Trust               1.00    $625.00
                             Agreements for insurance purposes (1.0);
1/16/2024 Jesse Bair         Review Interstate's suggested disclosure            0.10     $62.50
                             statement inserts (.1);
1/16/2024 Jesse Bair         Review the Committee's letter to the Court re       0.20    $125.00
                             test case updates (.2);
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1/16/2024 Jesse Bair         Review joint letter to Judge Rochon re January      0.20    $125.00
                             18 Arrowood status conference and
                             correspondence with Debtor and Arrowood re
                             same (.1); correspond with the Debtor and
                             Arrowood re same (.1);
1/16/2024 Jesse Bair         Review Debtor's demonstrative re Plan funds         0.10     $62.50
                             flow (.1);
1/16/2024 Jesse Bair         Brief review re the debtor's second modified        0.30    $187.50
                             Plan (.1); brief review re the debtor's second
                             modified disclosure statement (.2);
1/16/2024 Jesse Bair         Participate in conference with PSZJ, BRG, and       1.40    $875.00
                             T. Burns re preparations and strategy for
                             disclosure statement hearing (1.2); follow-up
                             correspondence with Committee professionals
                             re same and relevant Plan provisions (.2);
1/16/2024 Jesse Bair         Review P. Stoneking letter to the Court re notice   0.10     $62.50
                             discovery issues (.1);
1/16/2024 Timothy Burns      Prepare for disclosure statement hearing (1.6);     3.00   $2,925.00
                             met with J. Bair re same (.2); participate in
                             conference with PSZJ, BRG, and J. Bair re
                             preparations and strategy for disclosure
                             statement hearing (1.2);
1/17/2024 Jesse Bair         Participate in portion of Committee meeting for     1.20    $750.00
                             insurance purposes re case status, strategy, and
                             next-steps (1.2);
1/17/2024 Timothy Burns      Participate in Committee meeting for insurance      1.40   $1,365.00
                             purposes re case status and strategy (1.4);
1/17/2024 Jesse Bair         Review Judge Glenn's recent remand decision         0.10     $62.50
                             (.1);
1/17/2024 Jesse Bair         Correspond with I. Nasatir re upcoming              0.10     $62.50
                             Arrowood status conference hearing (.1);
1/18/2024 Jesse Bair         Review the Court's order declining to approve       0.10     $62.50
                             the debtor's disclosure statement (.1);
1/18/2024 Jesse Bair         Continue analyzing insurance aspects of the         0.30    $187.50
                             Debtor's disclosure statement and Plan (.3);
1/18/2024 Timothy Burns      Participate in portion of strategy session with     1.10   $1,072.50
                             PSZJ and J. Bair re the Debtor's Plan and
                             Disclosure Statement and potential edits and
                             further objections to same (.5); participate in
                             Arrowood status conference before Judge
                             Rochon (.6);
1/18/2024 Jesse Bair         Participate in strategy session with PSZJ and T.    0.70    $437.50
                             Burns re the Debtor's Plan and Disclosure
                             Statement and potential edits and further
                             objections to same (.7);
1/18/2024 Jesse Bair         Review correspondence with state court counsel      0.10     $62.50
                             re testcase developments before Judge
                             Steinmann (.1);
1/18/2024 Jesse Bair         Prepare for status conference in the Arrowood       0.20    $125.00
                             district court action (.2);
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1/18/2024 Jesse Bair         Correspondence with PSZJ re supplemental                0.10     $62.50
                             briefing schedule and hearing date re the
                             debtor's disclosure statement (.1);
1/18/2024 Jesse Bair         Participate in status conference in the Arrowood        0.80    $500.00
                             district court action (.6); consideration re
                             outcome of same and potential next-steps
                             (.1);correspondence with PSZJ re same (.1);
1/19/2024 Jesse Bair         Brief review re B. Michael's proposed                   0.10     $62.50
                             disclosure statement issues and edits (.1);
1/19/2024 Nathan Kuenzi      Additional analysis re Arrowood ancillary               0.50    $210.00
                             proceeding issues, timeline, and procedures
                             (.5);
1/19/2024 Timothy Burns      Review various correspondence from state court          1.30   $1,267.50
                             counsel re debtor state court discovery issues
                             and strategy meeting re same (.3); review
                             amended scheduling order in Arrowood district
                             court action (.1); review correspondence re
                             outcome of status hearing (.1); review various
                             correspondence with PSZJ and J. Bair re
                             strategy and response to Debtor's disclosure
                             statement (.3); review the Debtor's letter to J.
                             Glenn re disclosure statement schedule (.1);
                             review Order re Second Modified Disclosure
                             Statement (.2); review court's remand decision
                             (.2);
1/19/2024 Timothy Burns      Participate in call with state court counsel re         0.20    $195.00
                             potential case resolution strategy and insurance
                             issues re same (.2);
1/19/2024 Jesse Bair         Review the debtor's letter to the Court re              0.10     $62.50
                             supplemental disclosure statement briefing and
                             hearing schedule (.1);
1/20/2024 Jesse Bair         Review revised scheduling order in the                  0.10     $62.50
                             Arrowood district court action (.1);
1/21/2024 Timothy Burns      Legal research, analysis, and prepared email            0.70    $682.50
                             memo re potential regulatory concerns
                             regarding insurers' conduct (.7);
1/21/2024 Jesse Bair         Review correspondence with J. Stang and state           0.10     $62.50
                             court counsel re Committee settlement strategy
                             (.1);
1/22/2024 Jesse Bair         Review disclosure statement schedule (.1);              0.10     $62.50
1/22/2024 Timothy Burns      Prepare for call (.1); participate in call with state   0.50    $487.50
                             court counsel re potential regulatory concerns
                             regarding insurers' conduct (.1); participate in
                             additional call with state court counsel re case
                             developments in advance of upcoming
                             Committee meeting (.3);
1/22/2024 Jesse Bair         Review prior mediation demand to the Diocese            0.40    $250.00
                             re insurance issues (.2); consideration re
                             potential amendments to same in light of case
                             status (.2);
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1/22/2024 Jesse Bair          Analysis regarding case resolution strategy and          0.20    $125.00
                              next-steps (.2);
1/23/2024 Jesse Bair          Review draft presentation re Plan litigation             0.10     $62.50
                              strategy for use in Committee meeting (.1);
1/23/2024 Jesse Bair          Prepare for Committee meeting (.1); participate          1.70   $1,062.50
                              in conference with T. Burns re insurance strategy
                              in connection with upcoming Committee
                              meeting (.2); participate in portion of Committee
                              meeting for insurance purposes re disclosure
                              statement and Plan litigation strategy (1.4);
1/23/2024 Jesse Bair          Draft insurance suggestions and edits to the             2.60   $1,625.00
                              Debtor's disclosure statement and trust
                              distribution procedures (2.6);
1/23/2024 Timothy Burns       Met with J. Bair re insurance strategy in                2.30   $2,242.50
                              connection with upcoming Committee meeting
                              (.2): review joint status letter to J. Schofield (.1);
                              prepare for Committee meeting (.1); participate
                              in Committee meeting for insurance purposes re
                              plan and strategy issues (1.5); analysis and draft
                              regulatory bullet points re insurers' conduct in
                              Diocesan cases (.4);
1/23/2024 Nathan Kuenzi       Continue analyzing Arrowood ancillary                    0.80    $336.00
                              proceeding issues in connection with Plan
                              structure proposed by the Debtor re Arrowood
                              recovery (.8);
1/24/2024 Jesse Bair          Review and edit the Committee's redline of the           1.90   $1,187.50
                              Debtor's disclosure statement to incorporate
                              additional insurance edits (1.9);
1/24/2024 Jesse Bair          Participate in call with J. Stang re Plan and            0.40    $250.00
                              Disclosure Statement insurance issues (.4);
1/24/2024 Jesse Bair          Participate in call with K. Dine re disclosure           0.20    $125.00
                              statement insurance issues (.2);
1/24/2024 Jesse Bair          Draft separate disclosure statement insurance            0.30    $187.50
                              question overview for the debtor (.2);
                              correspond with Reed Smith re same (.1);
1/25/2024 Brenda Horn-Edwards Draft Burns Bair monthly fee statement (.4);             0.60    $216.00
                              generate and edit Exhibit A to same (.1);
                              correspond with J. Bair re same (.1);
1/25/2024 Jesse Bair          Review correspondence from the Debtor and                0.10     $62.50
                              PSZJ re disclosure statement meet and confer
                              (.1);
1/26/2024 Jesse Bair          Participate in meet and confer with the Diocese          1.50    $937.50
                              for insurance purposes re disclosure statement
                              issues (1.5);
1/26/2024 Jesse Bair          Participate in call with K. Dine and B. Michael re       0.40    $250.00
                              meet and confer outcome, next steps, and
                              Arrowood issues (.3); review follow-up
                              correspondence with K. Dine and J. Stang re
                              same (.1);
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1/26/2024 Jesse Bair         Review and respond to correspondence with          0.20      $125.00
                             state court counsel re insurance demand letter
                             status (.2);
1/26/2024 Timothy Burns      Review LMI's subpoena of J. Hanson in LMI          0.10        $97.50
                             adversary (.1);
1/27/2024 Timothy Burns      Review correspondence with state court counsel     0.10        $97.50
                             and J. Bair re insurance demands (.1);
1/27/2024 Jesse Bair         Review monthly Debtor PSIP information (.1);       0.10        $62.50
1/30/2024 Jesse Bair         Review correspondence with PSZJ re the             0.10        $62.50
                             Debtor's third modified disclosure statement
                             and plan (.1);
1/30/2024 Jesse Bair         Review correspondence with the Debtor and US       0.10        $62.50
                             Trustee re the debtor's modified Plan
                             documents (.1);
1/31/2024 Brian Cawley       Research and analyze Plan provisions in other      0.40      $168.00
                             Diocesan cases in connection with the
                             Committee's response to the Court's disclosure
                             statement order (.3); correspond with J. Bair re
                             same (.1);
1/31/2024 Timothy Burns      Participate in portion of strategy meeting with    1.60     $1,560.00
                             PSZJ re disclosure statement issues (.7);
                             correspond with J. Bair re same (.1); review
                             correspondence with PZSJ and J. Bair re
                             disclosure statement issues (.2); review Court's
                             Order regarding Disclosure Statement issues
                             (.1); review and revise the Committee's
                             proposed response to same (.4); review further
                             revised version of same (.1);
1/31/2024 Jesse Bair         Review the Court's order re disclosure             0.60      $375.00
                             statement issues for the Committee to address
                             (.1); review and respond to correspondence with
                             PSZJ re same and response (.2); review and
                             edit the Committee's response to same (.3);
Total Hours and Fees                                                            83.70   $63,858.50
                                          EXPENSES
Date                         Description                                                  Amount
1/1/2024                     Fourth Quarter 2023 PACER                                      $33.50
Total Expenses                                                                              $33.50


                                  Timekeeper Summary
Name                            Title                  Hours            Rate              Amount
Brenda Horn-Edwards             Paralegal                0.60        $360.00              $216.00
Brian Cawley                    Associate                0.40        $420.00              $168.00
Jesse Bair                      Partner                 44.90        $625.00            $28,062.50
Nathan Kuenzi                   Associate                2.60        $420.00             $1,092.00
Timothy Burns                   Partner                 35.20        $975.00            $34,320.00

                                                            Total Due This Invoice: $63,892.00
